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Expert Witness Report

Hassan I Hassan

United States v. Georgianna A.M. Giampietro.

Background

I was born and raised in Syria. When I was a teenager, in the 1990s, I spent my summer
breaks herding sheep from sunrise to sunset.

My family had two lines of business at the time, farming and livestock trading, so we did
relatively well financially. We owned livestock and had an orchard that was leased
annually to merchants from Aleppo, who arrived at harvest time to ship the produce from
several orchards in the area to their city. Along with my eight siblings, I helped in farming
and herding not only over the summer but on weekends and holidays throughout the
year. I didn’t venture outside my home village until 1996, after finishing the ninth-grade.
At that point, I went to the nearby city of Albu Kamal to study at the area’s high school.

My birth village, Ash Sha’fa, lies on the eastern bank of the Euphrates River, in the
province of Deir Ezzor in eastern Syria. The Iraqi border is only a short drive from the
village. Most of Deir Ezzor’s population descends from one main Arab Sunni tribe, the
Egaidat, to which my family belongs. Like most tribes in the Middle East, the Egaidat has
members in Iraq and the Persian Gulf.

This eastern region is distinctly tribal, rural, and marginalized. In the 1990s, life there
was generally simple and uneventful. The state’s presence was minimal, and villagers
sustained themselves through farming and remittances from relatives working in the
Persian Gulf. I saw no indication then that my home province would become the main
transit hub for jihadists moving from Syria into Iraq after the 2003 invasion, which was
the main stronghold for al-Qaeda’s Jabhat al-Nusra from 2011 until mid-2014, and then
the site of the Islamic State’s final battle as a caliphate, which had lasted from mid-2014
to the spring of 2019.

As someone who now studies jihadism for a living, my knowledge of militant groups and
their ideologies is shaped by such close proximity to the intellectual and geographical
“soil” that gave rise to such organizations, direct exposure to these groups and
individuals, and the academic as well as professional training I obtained over the years.
Too many of those who study jihadism today do so from a distance, with little knowledge
of their ideology and the terrain in which these groups operate.

I went through all the levels of the country’s school system and higher education apart
from post-graduate levels. The Arabic language is the official language of learning in our
school system, which includes religious studies as part of the curriculum from



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elementary school to the university level. Thus, knowledge of the religious basis of what
jihadis preach was not something I had to learn at a later stage in my life. It was part of
my experience growing up to know about the religious and conceptual foundations of
these movements -- just without the extremist and violent interpretations that jihadis
embrace and impose on others.

Several people I knew closely during my schooling became rebels and jihadis when war
came to Syria after 2011, and before that time in Iraq. I attended the University of
Damascus in the Syrian capital from 2000 to 2004. It was during this same period that
some individuals who later became jihadi leaders were studying in the same university. I
was familiar then with their close circles, if not directly with some of them and their
activities. Those individuals who were in Damascus when I was there included two of the
founders and leaders of Jabhat al-Nusra, currently known as Hayat Tahrir al-Sham; they
also included many more from several anti-government groups that operated in the
country in the past decade.

Members of these circles explained to me at the time, for example, how they would
evade the watchful eyes of the Syrian security services to obtain banned books sold or
distributed underground. Such books were banned officially by the Syrian government
for their extremist content. One such book was Milestones by Egyptian Islamist
intellectual Sayyid Qutb, who was executed by the Egyptian government in 1966 after
being accused of plotting to assassinate the then-president Gamal Abdelnasser. In the
book, Qutb draws a roadmap for Islamic radicals to establish an Islamic state, based on
a set of principles and actions that include rejecting the foundations of modern states,
the legitimacy of existing governments and governance system, and the need for the
return to the very beginnings of Islam in the 7th century to re-establish supremacy over
the world.

The time I moved from my village to Damascus was a transformative time for Syria and
the region. The country had a new president in 2000 when I began my studies at the
university. In the first phase of his rule, as part of his attempts to consolidate power,
President Bashar al-Assad opened up the country in terms of technology and freedom of
association. New ideas and discussions were part of university life, and those ideas
included extremist ideologies that started to spring up in a previously closed and tightly
controlled country. As with many students in Damascus, I was closely exposed to those
discussions and ideologies.

During my studies at the university, the Iraq war also erupted in 2003. The war in Iraq
impacted my hometown of Albu Kamal, which became a gateway for jihadis coming from
across the region to enter Iraq. Two people from my village travelled to Iraq to join the
jihadis in nearby places like Fallujah. I remember speaking to cab drivers about their




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experience transporting would-be jihadis to Iraq through the borders not far from my
village.

Events and changes in the 2000s were essential for understanding the Syrian conflict
that began in 2011. The Syrian conflict marked a critical time in the broader story of
Syria, and the rise of jihadism. It was in Syria where the main global jihadi organizations,
al-Qaeda and ISIS, diverged and fought each other. The ideological wars between the
two groups, and the future of jihadism more generally, could not be understood fully
without in depth knowledge of the war in Syria. I followed these ideological wars very
closely, both as a native Syrian and as a journalist and researcher.

My direct knowledge of Syria and the Middle East, as someone born and raised there,
has been greatly enhanced by my extensive professional work, as well as extensive
academic training.

After graduation from the University of Damascus in 2004, I worked as a freelancer for
local media outlets and researchers on matters related to events in the Middle East. I
travelled in 2006 to the U.K. to continue my education. I studied International Relations
at the University of Nottingham, where I received a master’s degree. During my studies
in Nottingham, I received academic training relating to the Middle East and international
politics and conflicts. Among the academic courses I studied were focused on
philosophy of social research and religion, identity, and conflict in the Middle East.

I was working as a journalist in the United Arab Emirates (UAE) when the Syrian
uprising broke out in 2011 and continued to work in journalism and research in the UAE
until mid-2015. I wrote a weekly column at an English daily newspaper called The
National, documenting major or key events in Syria and in the wider region. In addition
to my personal knowledge of Syria and my immersion in the news, I interviewed various
actors involved and / or affected by the Syrian conflict on a weekly, if not daily, basis.
The people with whom I spoke ranged from ordinary Syrian civilians to militants, rebels
and jihadis, on the one hand and from senior members to the rank and file in rebel and
jihadist groups on the other.

Because of my writings at The National, I was approached by publications in Britain and
the United States, among others, to write for them. I started writing frequently for a wide
range of publications, including the New York Times, Foreign Affairs, Foreign Policy, the
Guardian, the Daily Beast, Financial Times and Politico. I also wrote research articles for
several think-tank and academic publications, such as Carnegie Endowment for
International Peace in Washington D.C. and Chatham House and the European Council
on Foreign Relations in London. I appeared on a wide range of television programs,
including many flagship programs, such as the O'Reilly Factor, Amanpour and the Last




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Word with Lawrence O'Donnell. In 2018, I was also named a Contributing Writer by The
Atlantic magazine, a prestigious title awarded to a select number of writers.

In 2015, I published a book called ISIS: Inside the Army of Terror (Regan Arts, New
York). The book was co-authored with American journalist Michael Weiss, who asked
me to write the book with him given my expertise on the subjects of jihadism and the
Middle East. In the book, we interviewed former U.S. officials who worked on the ground
in Iraq, including former colonels who once tracked and helped defeat al-Qaeda in Iraq
in the mid to late-2000s. We also interviewed people who fought for ISIS and others who
fought against it, as well as a range of actors who operated in Syria, including members
of Jabhat al-Nusra and rebel groups. We also interviewed jihadist ideologues and
clerics, as well as tribal leaders and regional actors involved in the country’s conflict.

The book became a New York Times and Washington Post’ Best Seller, and was
translated into more than a dozen foreign languages, including Russian, Chinese,
Korean, Turkish, Bosnian, French and Portuguese. The Wall Street Journal listed the
book as one of their “10 Must-Read Books on the Evolution of Terrorism in the Middle
East.” The Times of London included it in their list of Best Books of 2015. The book was
reviewed favorably in numerous newspaper articles and policy and academic journals,
including twice by the New York Times. The Times’ chief book critic, Michio Kakutani,
said the book gave readers “a fine-grained look at the organization’s evolution through
assorted incarnations.”

In mid-2015, I left the UAE to work as an associate fellow at the Chatham House in
London, a fellowship awarded to recognized experts in their fields. Around the same
time, I was offered a full-time job by a think-tank in Washington, D.C. After obtaining a
visa six months later, I moved to the United States to start the job at the Tahrir Institute
for Middle East Policy in January 2016, where I served as a Senior Fellow.

Since 2011, I have also testified before Congress on the issue of extremism and have
briefed senior policymakers in the United States, Europe, and the Middle East on
extremism. I conducted various training courses for military personnel, intelligence
agencies, and diplomats specializing or operating in the Middle East, on Salafi-jihadism
and tribal dynamics, which is discussed below, as well as other related issues. I also
conducted training at the State Department’s Foreign Services Institute for
approximately two years.

In June 2016, I testified before the Committee on Homeland Security and Governmental
Affairs on the ideology of ISIS. In February 2017, I testified before the Subcommittee on
Terrorism, Nonproliferation, and Trade for the Committee on Foreign Affairs of the
House of Representatives, on the issue of terrorism in Syria. In June 2020, I testified




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before the The United States Commission on International Religious Freedom (USCIRF)
on Safeguarding Religious Freedom in Northeast Syria.

I am currently the editor in chief of Newlines Magazine, specializing in long-form
journalism focusing on on-the-ground reportage, arguments and memoirs from the
Middle East, the United States, and beyond. I was hired in 2019 by the Center for Global
Policy, renamed later as Newlines Institute, to establish a program on non-state actors
(primarily militant movements), based on my established expertise in this field. Within a
year, I built a program, which featured some of the most recognized experts in the field,
including the Iraqi expert Husham al-Hashimi, who had written for us frequently until the
day he was assassinated by militants outside his home in Baghdad. Husham was one of
the most informed voices on jihadism, especially in his country of Iraq. I then expanded
the program in 2020 to the Human Security Unit, consisting of several programs dealing
with anything from non-state actors to state fragility and security vacuums. Also, in 2020,
I founded Newlines Magazine, which has since published an average of five essays a
week, discussing political and cultural topics from various parts of the world, with a focus
on the Middle East.

Jabhat al-Nusra / Hayat Tahrir al-Sham: The Political Context

In 2011, popular uprisings swept the Middle East and North Africa. The uprisings
reached many countries in the region through a domino effect that began in the North
African country of Tunisia. The uprisings were assisted by the rise of social media and
were organized largely by young people who demanded change from autocratic rule that
dominated the region for a century to a form of democratic and representative politics.
The Syrian uprising was part of this story, but the experiment led to a disaster because
of how the regime of Bashar al-Assad reacted to the protests demanding change to a
more democratic government, and later how extremists and foreign countries hijacked
this popular movement for change.

One month after the start of demonstrations against his regime, the Tunisian president
Zain Al Abidin Ben Ali abdicated his position and fled the country in January 2011 after
23 years in power. Trying to avoid the fate of Ben Ali’s regime, the Egyptian regime of
Husni Mubarak sent camels and mules to disrupt the youths’ sit-in in Tahrir Square in
Cairo in February 2011. As one Egyptian activist put it, “They are confronting Facebook
and Twitter with camels and mules.” These words captured the dilemma of the
authoritarian Arab regimes vulnerable to real change that came to be known as the
“Arab Spring.” Mubarak was toppled in February 2011, followed by the Libyan dictator
Muammar al-Gaddafi in October of the same year.

In Syria, President Bashar Al Assad responded poorly to the popular demands. In a
speech on March 31, 2011, he described the two-week-old peaceful demonstrations in




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his country as a foreign “conspiracy,” vowing to abort it. Only he did not use camels and
mules, but warplanes and missiles. The violent response to the uprising led to an all-out
civil war by early 2012. As a result, the peaceful protesters of 2011 responded by fleeing
or disappearing, surrendering, or taking up arms against the regime.

There is a sectarian aspect to the situation in Syria. The country, whose population is
majority Sunni Muslims, has been ruled by a clan from the Alawite minority. Hafez al-
Assad, the father of the current president, ruled the country from the 1970s until his
death in 2000. But he also ruled with extreme brutality. By example, in response to an
uprising in the 1970s and early 1980s, the father had launched a military campaign in
multiple cities to quell the insurrection by force. That military response is still
remembered for the destruction of Hamain central Syria in 1982. The son, Bashar, did
the same after 2011, except on a much larger scale against a larger grassroots
movement.

This sectarian dimension of the war would be exploited by the jihadists to establish
themselves as a force within the broader uprising against the Assad regime, as I will
explain later in this report.

The original Syrian protesters were encouraged by the fact that a portion of the Syrian
army defected, in addition to growing foreign support for their cause. Officers and
soldiers left their garrisons and joined angry local communities, especially in the restive
rural part of the country, to fight back against the regime’s army. The regime committed
horrible atrocities in 2012 and 2013, including the use of “barrel bombs” (explosives
inside barrels, dropped from the air to residential areas) and chemical weapons against
towns and neighborhoods that fell out of the regime’s control.

The brutal tactics of the regime were not enough to save it. It soon needed foreign
support, which came initially from Iran. The Iranian regime deployed its infamous Islamic
Revolutionary Guards Corps (IRGC) and the Lebanese Shiite organization Hezbollah in
the fight as early as mid-2012. On the other hand, the Free Syrian Army (FSA), as the
defected officers chose to call themselves, received support from Turkey and Arab
states, especially Saudi Arabia and Qatar.

Not long after, the contrast between the Iranian militias that started to flood to Syria, and
the dominantly Sunni rebel fighters in the FSA gave the Syrian revolution a sectarian
imprint, specifically in 2013. This was the same year when Islamist and jihadist forces
became the dominant on the rebel side.

The FSA did not have any specific ideology in the beginning. It was a general moniker
for the collaboration between nationalistic officers and civil society activists who took up
arms against the regime. These local forces were not well organized. Because of the




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flow of Qatari and Saudi support in 2012, which included Islamic charities and individual
donors, many FSA groups adopted Islamic names and narratives to attract donations.
Some of these groups were influenced by the Wahhabi Salafi school, officially practiced
in Saudi Arabia, and others were influenced by the Muslim Brotherhood.

On the other hand, the Assad regime increasingly relied on Shiite militias who were
brought to Syria by Iran. Syria, in 2013 in particular, became a battleground for a rare
sectarian war between Shiite and Sunni militias. The Syrian revolution for freedom
started to look more like a Sunni jihad versus Shiite Islam. When some secular FSA
groups were careful to distance themselves from religious discourses, confirming that
they were leading a cause for freedom, other Islamic groups such as the Army of Islam,
Ahrar Al Sham, and Jabhat al-Nusra (or Nusra Front, or the Support Front) started to
dominate because of the more organized and experienced militant movement of
jihadism. The jihadists were more experienced fighters, and they soon won the war of
competition over the rag-tag militias of the FSA in the battlefield. The jihadists deployed
suicide bombers and inghimasi, or commando, fighters.

The United States and the international community in general backed the uprising, but
were hesitant to offer full support to the rebels. There were concerns that the FSA was
becoming more radicalized. Hundreds of jihadists and al-Qaeda members, long
imprisoned by the Syrian regime in infamous prisons like the Sednaya Prison near
Damascus, joined the rebels and formed the top echelon of what later became the most
powerful rebel forces in the country (especially in 2013). They were joined by veteran
jihadists who had previously fought in Afghanistan, Libya, Bosnia and Iraq.



The Rise of Jabhat al-Nusra / Hayat Tahrir al-Sham



Jihadists came to Syria early on, around mid-2011, but they established themselves as a
dominant force gradually over many years of war. According to the jihadists’ own
materials, they saw an opportunity in the popular uprising against Assad. In an interview
with al-Jazeera, the leader of Jabhat al-Nusra, Abu Muhammad al-Jolani, said he had
little hope in any change in Syria before the uprising took place. When young Syrians
rebelled against the Assad regime, a small group of al-Qaeda in Iraq smuggled
themselves into Syria to form a branch for the group there. This group was led by a
Syrian jihadist known as Abu Muhammad Al Jolani.

Jolani was born in Riyadh, Saudi Arabia, in 1982, and his real name is Ahmad Hussein
Al Shari’e. His family came from the Golan Heights (hence the nom de guerre, Jolani
from Golan) to Damascus in 1967 after the area fell to Israel. Jolani spent the first seven



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years of his life in Saudi Arabia before his family returned to Damascus and lived in the
Mezze Eastern Villas neighborhood. Sometime after 2003, he travelled to Iraq and
joined the fight against the United States.-led coalition, under the command of the
founder of what is known today as ISIS, Abu Musab Al Zarqawi.

Jolani was arrested in Iraq in 2006 and jailed for several years in prisons including Camp
Bucca. While in prison, Jolani got to know many of those who would lead the Islamic
State in Iraq, until 2011 when Jolani was released from prison and sent by the Islamic
State in Iraq into Syria to establish a franchise for the group in Syria. In January 2012,
Jabhat al-Nusra announced itself publicly as a jihadist group that was fighting against
the Assad regime. The group’s name in Arabic comes from the word “to assist” or “to
support”, hence the moniker the Support Front.

Jabhat al-Nusra, as it announced itself in January 2012, was a branch of al-Qaeda in
Iraq, but secretly until the spring of 2013. Before it announced its affiliation to al-Qaeda,
the group acted as a Syrian group of veteran jihadists and sought to entrench itself in
the anti-government rebel landscape and present itself as a legitimate part of the anti-
Assad popular cause, without the perceived negatives of outward affiliation with al-
Qaeda (knowing affiliation with the terrorist group would cause many to not support it,
because of its extremism and because it would harm the legitimate popular cause
against the Syrian dictatorship).

The group quickly built a presence throughout the country, by focusing its attacks on
government forces, facilities and officials. The group followed different tactics from other
rebel and jihadist forces. Instead of controlling territories and governing as a group in
areas outside of government control, it focused on attacking the regime and infiltrating
local structures. The group also built a mobile army of militants conducting hit-and-run
and surgical attacks. The group sought to attract recruitment by presenting itself as
focusing on fighting the Assad regime and by doing so effectively through suicide
bombing and fanatical fighters willing to die on the frontlines. This strategy was one of
the main factors that led many to join the group. While other groups were seen as linked
to local or foreign agendas, the group was seen as committed to the jihadist cause
against a sectarian regime.

The group also had ideologues and clerics who supplemented the military fight with
online and on-the-ground propaganda efforts. They connected with social and religious
leaders, distributed propaganda materials to local citizens, used English language
magazines such as Inspire and Dabiq to attract foreign recruits, preached at mosques,
ran online accounts to push their propaganda online, and provided interviews to
journalists in the region. They also worked closely with rebel groups that shared their
worldviews, a way to embed themselves within the rebels and benefit from their
resources. They directly or indirectly benefited from the flow of foreign funding through



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such joint efforts with the rebels, and through charities and rich donors operating in the
country or in the region.

By the spring of 2013, jihadists were prominent actors in the Syrian conflict, and inter-
jihadist competition reached a high point. A split occurred between the Syrian
organization and its Iraqi patron, “al-Qaeda in Iraq”, which was officially known as the
Islamic State of Iraq. The split happened after the Iraqi group announced the previously
secret links between the two organizations and decided to merge the two under the
leadership of Abu Bakr al-Baghdadi. The Syrian group rejected the unification and
decided to pledge its allegiance directly to al-Qaeda’s central leadership under Ayman
al-Zawahiri. The split also polarized and divided jihadists in Syria, with some joining the
Syrian branch and others joining the Iraqi one, which then became known as ISIS, or the
Islamic State in Iraq and Syria.

The jihadist infighting was a key event in 2013, accompanied with jihadist attempts to
dominate the scene by force, including attacks on Islamist and local Syrian groups. The
infighting was thus highly publicized, which caused many actors inside and outside the
country (such as funders, sympathizers, and recruits) to pick sides. The ideologies,
previously kept under the table or underplayed, had now become clear.

The differences became even more pronounced when al-Qaeda’s central leadership
issued statements ordering the Iraqi and Syrian sides to stick to their respective
countries of operations -- ISIS to Iraq and Jabhat al-Nusra to Syria -- to mitigate the
fighting. The Iraqi group rejected the proposal, especially since it had succeeded in
attracting a large number of the foreign jihadists operating in Syria. Fighting erupted
between the two groups.

Non-jihadist rebel groups joined the fight against ISIS and drove it from most of the
country by early 2014. Around that time, Jabhat al-Nusra was heavily present in two
main parts of Syria. The first was in Deir Ezzor, where I was raised, and the second is
northwestern Syria. Jabhat al-Nusra was also present in southwestern Syria, but the
east and north were more important: the north for movement of fighters and money
through Turkey in the north, and the east because of the oilfields in Deir Ezzor and
elsewhere. Most of Syria’s oil and gas output is concentrated in eastern Syria, and
Jabhat al-Nusra, as ISIS did later, made large amounts of money from the control of
these resources.

Since Jabhat al-Nusra was a dominant force in Deir Ezzor from 2012 to mid-2014, I
watched the group closely through my family, relatives, and contacts on the ground, in
addition to watching and reading the news. I knew about many of its rank and file
members, and those who worked with the group. Over the years, I interviewed many of
its members and some of its senior leaders. I also wrote about its religious ideology,




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based on exclusive insights obtained from inside the group, through members and locals
who had access to their indoctrination materials.

Jabhat al-Nusra, along with other forces, controlled the oil fields and participated in the
governance of Deir Ezzor until the summer of 2014, when the situation in rebel-
controlled parts of Syria took a turn. That summer, ISIS seized large parts of Iraq and
launched campaigns to expand into Syria. Within a few weeks, ISIS gained control of
almost half of Syria -- mostly in eastern Syria -- as well as around one third of Iraq.
Jabhat al-Nusra, previously a dominant group in eastern Syria, was pushed to the
southwest and northwest regions of Syria.

The group rebranded itself multiple times, but its leadership remained largely the same.
On April 10, 2013, Jolani gave fealty to al-Qaeda. On July 28, 2016, Jolani rebranded
his group as Jabhat Fateh al-Sham (the Front for the Conquest of Syria). During this
brief phase, the group was nominally led by the leader of one of the rebel groups that
joined the new coalition, named Hashem Al Sheikh, who was merely a nominal not the
de facto leader of the coalition, while Jolani served as the coalition’s military commander
(the group that was Jabhat al-Nusra, within the coalition, remained under Jolani’s
control). On January 28, 2017, the group joined other groups and rebranded itself once
again as Hayat Tahrir Al Sham (HTS, Organization for the Liberation of the Levant).

Jolani remained the leader of Jabhat al-Nusra throughout the various phases of
rebranding that the group went through from 2011 to the present, and despite the
changes in its aliases and the shifting allegiance from ISIS to al-Qaeda. The brief
selection of another figure to head a coalition was part of the rebranding exercise (to
appear inclusive). Indeed, some of the group’s key leadership remained the same
throughout the years, except if they were killed in action or if they defected to more
extreme groups.

Jabhat al-Nusra was established with funds from al-Qaeda in Iraq. Its former Iraqi patron
was said, by both groups, to have shared its resources with the newly established
franchise in Syria in 2011. But the group would become one of the richest groups in
Syria, as the fighting expanded in the country and as resources fell in the hands of the
anti-government rebels.

“Spoils of war” was the main way Jabhat al-Nusra funded itself, aside from the initial
funding from Iraqi jihadists. The group would offer rebel groups to participate in battles
against the Assad regime in exchange for a large share in the captured war spoils, such
as weapons and ammunition. The rebels sought to develop its fighting skills, which they
gained from jihadi battlefields elsewhere, and Jabhat al-Nusra needed the rebel
resources to expand its operation. The group also relied on other methods to gain
resources, including ransom and extortion, to capture oil fields. In the four three years,




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Jabhat al-Nusra did not establish a civilian body or act as a civilian government in areas
that fell out of the Syrian regime’s control, so it relied on extortion. For example, the
group would stop trucks and demand a fee; it would ask charities to support the
“mujahideen” (holy fighters); and it would compel small fighting factions to share
resources they had from foreign or local funders.

Rather than provide support to ordinary Syrians, the group sometimes diverted
resources that people needed to survive for its own use. The group confiscated medical
supplies, ambulances, bakeries, and even clothes. Humanitarian groups and legitimate
charities operating on the ground were among the victims of the group’s extortion efforts.
Later, in 2017, HTS established the “Syrian Salvation Government” and started to
impose taxes on charities and businesses. Charities were compelled by HTS to pay
between 20% and 50% of received aid to the HTS-backed entity.

As Jabhat al-Nusra became dominant in much of Syria after 2012, it began to informally
share resources with other rebel groups. But it did not focus on capturing territory and
governing as a formal body. Instead, it focused on fighting the Assad regime and in the
process dominating the scene. It fought in most major battles across the country.
Alongside its fighting and money-making activities, the group also sought to weaken
other factions, especially moderate ones that aligned themselves with Western nations.
In some cases, it dismantled them by force. With time, and as the rebels retreated or
were defeated in most of Syria, Jolani’s group became one of the most powerful jihadist
groups active in the region.

Radicalization in Syria

There is a wide range of jihadist groups that came to life in the Syrian conflict, starting
with the pro-Muslim Brotherhood moderate Islamic factions and ending in ISIS; a group
whose ultra-extremist ideology is unique in the whole of Islamic history.

In the beginning of 2012, the Muslim Brotherhood adopted and supported some FSA
groups in rebel-held territories. The involvement of the Muslim Brotherhood with FSA
culminated in the birth of “Kataeb Durou’a al Thawra,” or “the Revolution Shield
Battalions,” and “Farouk Battalions.” While still acting under the name of FSA, Durou’a
and Farouk were considered moderate Islamic factions that might eventually blend with
Islamic project of the Muslim Brotherhood who considered the Syrian conflict as a
chance to reach power in Syria.

Extremism in the Syrian conflict developed gradually, starting with local groups backed
by the Muslim Brotherhood, followed by the rise of Salafist groups by Gulf states and
funders, and then finally by the dominance of groups linked to al-Qaeda. Hundreds of
armed groups emerged in Syria over the years, many of which either disappeared or



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weakened, while groups like Jabhat al-Nusra and ISIS, who benefited from their long
experience that predated the conflict, were able to survive.

The two groups proved resilient due to the commitment of their supporters and their
ability to learn and adapt to the changing circumstances. In the case of Jabhat al-Nusra,
it survived the split with ISIS because it was able to adapt: first by pledging an oath of
allegiance, not to the Iraqi jihadists who established it, but al-Qaeda’s central leadership;
and later by rebranding itself as a local rebel group with no affiliation to a global jihadist
entity, though it was still operating decidedly and openly as a jihadist group, when ISIS
started to lose its territory as a result of the U.S.-led campaign against it. The name
change also happened as pressure against the Syrian rebels increased because of the
Russian-led campaigns in Aleppo and other parts of the country. The rebel losses forced
it to present a more moderate outlook, outwardly, to gain support from regional countries
like Turkey.

The internet was important for jihadist groups like Jabhat al-Nusra to help gain foreign
support. Jihadist groups attracted fighters and received resources from outside the
country based on their ideologies, which became unmistakably clear in 2013 as the
scene became more polarized and each side emphasized their differences to distinguish
themselves from their competitors. Jihadists could easily be distinguished from Islamists,
and certainly from ordinary groups, even if these groups had a conservative religious
focus. Because jihadism is a distinct ideology and movement, in a highly polarizing
context such as the Syrian conflict, its differences became even clearer and more
pronounced as each jihadist group naturally sought to emphasize its differences or
uniqueness from that of its competitors.

There are several factors that allowed these jihadist groups to gain influence in Syria.
First, the Assad regime decided to respond to its people’s demands for freedom by
waging a ferocious war against the people. In war, courage alone is not enough to
motivate fighters. Hatred becomes a fuel for the fight. Many Muslim Sunnis, who
constitute the majority in Syria, viewed the government as a regime controlled by the
Alawite Muslim minority sect. Their view was reinforced when the Assad army launched
relentless and discriminatory military campaigns in 2011 and 2012, which was seen as
an annihilation war against the Sunni majority. From this perspective, average Sunni
Syrians were a fertile ground for radical ideologies that would soon take advantage of
the atrocities to attract recruits across the country.

Second, the perceived inaction of the international community led many average
Syrians, who had expected support for their pro-democracy demands, to believe that the
West, as a whole, did not care about their survival because they were Muslims. They
developed feelings of abandonment and betrayal as they had sought to promote
Western values of freedom, human dignity and democracy, which did not gain the



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support of the West. These bitter feelings caused many Syrians to welcome and join
jihadist groups, who were effective on the battlefield, while secular rebels became
increasingly weaker over time.

Third, the Assad regime capitalized on the growing religious sentiments by fueling these
sentiments through violence and counter-measures in order to further radicalize the
popular uprising and gain the support of more Syrians who were fearful of radicals. The
Alawites, as a religious minority, thus felt under attack by the Sunni majority, and stuck
with Assad. This process would also serve to convince more in the West that a rebel
victory would turn Syria into a jihadist nightmare. One of the most cited measures that
the Assad regime undertook was to release hundreds of proven radicals from Sednaya
Prison and remote rural areas to enable radicals to radicalize the uprising, while
focusing attacks on moderate rebel groups.

Fourth, Iraq, as a turbulent neighbor of Syria, played a significant role in the rise of
jihadism in the Syrian conflict. The two most dominant extremist groups today, ISIS and
Jabhat al-Nusra, came to Syria from Iraq. The Sunnis of Iraq had been under sectarian
pressure by the Iranian influence in their country since the fall of Saddam Hussein’s
regime in 2003. Many angry Sunni jihadists in Iraq saw the Syrian conflict as an
“opportunity.” They crossed the border into Syria not only with their weapons, but with
their sectarian mentality, in order to eradicate the Assad regime as an Alawite ally to the
Shiite regimes in Iraq and Iran.

Finally, Iran contributed greatly to the rise of Sunni jihadism in Syria. Iran saw the Syrian
conflict as a chance to consolidate its influence in Syria and the wider region. It deployed
dozens of Shiite militias from various countries, led by IRGC operatives, to support the
Assad regime. Deployment of Shiite militias, whose members were sectarian and
fanatical, further weakened moderate and democratic voices in Syria and gave the
upper hand to jihadists who presented themselves as the defenders of Sunnism in the
country.

These factors shaped the attitudes of mainly local fighters. Foreign fighters and
sympathizers were also generally attracted by the jihadist ideology. Muslims outside
Syria would still recognize the local dynamics and the need to support Syrians, but
ideology tends to play a more significant factor in why outsiders support certain jihadist
groups on the ground. This has to do with an ideology with roots that predate the Syrian
conflict by decades.

History of Jihadism and Key Concepts




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Jihadism, to be distinguished from jihad, is a relatively recent ideology. It is a product of
the interplay between the revolutionary political ideas of Islamism and the fundamentalist
interpretations of Islamic text by Salafism. Islamism and Salafism arose earlier.

Salafism, better known as Wahhabism, is the intellectual legacy of the 13-century
Islamic scholar Taqi al-Din Ibn Taymiyyah and the Hanbali school of jurisprudence, as
interpreted and enforced by Mohammed Ibn Abd al-Wahhab and his successors in
modern-day Saudi Arabia. Salafism, as practiced in what is today known as Saudi
Arabia, is better known as Wahhabism after its founder. It was founded in the 18th
century in the Arabian Peninsula. The rise of this movement was enabled by an alliance
between its founder and a member of the Al Saud family, who together formed Saudi
Arabia. With the discovery of oil in the 1930s and 1940s, the Saudi-Wahhab alliance had
at its disposal unlimited resources to spread the ideology beyond Arabia. Clerics and
officials began to fund mosques, schools, universities, media, and so on, across the
world to promote their rigid and fundamentalist brand of Islam.

Around the same time, another movement was taking root across the Islamic world.
Political Islam, with roots in India, Pakistan, and Egypt, is an ideology for political change
to insert Islam and religion as a central part of the public life. Islamism, as it is also
known, was central to the formation of Pakistan as an Islamic country, after partition
from India in 1947. The ideology had also manifested itself in the Muslim Brotherhood in
Egypt, founded by a school teacher named Hassan al-Banna in 1928. Islamism, as an
idea, spread in many countries, formed local branches, and even entered into
parliaments in some countries. Unlike jihadism later, the Muslim Brotherhood called for
change through a two-fold strategy: grassroots change from the bottom up that
developed from groups of individuals in local areas coming together as a “family” and
connecting with other families through a hierarchical system within a larger organization;
and peaceful political change through political participation and organization. Political
Islam became even more popular with the failure of pan-Arabism and the defeat of Arab
regimes at the hand of Israel in what is known as the 1967 Six-Day War.

The defeat, dubbed the Naksa (or Setback) by Arabs across the region, led to mass
disillusionment with Arab regimes that previously relied on rhetoric to bring all Arab
countries together through a pan-Arab ideology. This gave space for Islamism to grow.
In 1979, the Shah of Iran was toppled, and an Islamic revolution replaced his secular
system. Jihadist volunteers also traveled to Afghanistan in the 1980s to participate in the
fight against the Soviets, who invaded the country in 1979 -- the same year as the
Iranian revolution. The Islamist wave would sweep the region and produce more
extreme incarnations of existing ideologies.

Salafism is marked by extreme traditionalism and literalism. Political Islam is marked by
revolutionary ideas for political change. Islamists fleeing repression in countries like



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Egypt, Syria, and Iraq would find refuge in the Persian Gulf. There, they would be
influenced by local Salafism, and Salafists would be influenced by Islamist ideas. The
result is a slow hybridization between doctrinaire Salafism and other Islamist currents,
which gives rise to Salafi-jihadism or jihadism, a more extreme and violent variation of
either Salafism or Islamism.

Islamists like Sayyid Qutb and Anwar al-Awlaqi have been influenced by this process of
hybridization, which involves the pursuit of an Islamic state to bring down the current
political system and impose a distinct set of interpretations of how Islam should govern
public life. The result of this interplay is a movement known as Salafi-jihadism. Within
this broad movement of Salafi-jihadism, various actors can endorse varying degrees of
extremism and violence that are different from normative Islam practiced by the vast
number of Muslims in the world.

How Jihadists Indoctrinate Followers

Salafi-jihadists often use concepts and ideas shared by traditional Muslims, but they
have different interpretations of these concepts. One example is the use of the word
tawhid, or monotheism. Islam considers itself a continuation of a long line of divinely
revealed religions, often known as the Abrahamic religions, but it emphasizes the purity
or truth of its message by promoting the idea of monotheism -- that there is only one
God. A key theologian that Salafists rely on is the aforementioned 13-century Ibn
Taymiyya, who developed the criteria for adherence to tawhid/monotheism: belief in
God, belief in no other besides God (it is not enough to believe in God, but one must
also reject other deities), and to have the right creed. These criteria were not defined by
theologians before him. In the mid-20th century, Islamist thinkers emphasized another
criterion that also was uncommon before then: to adhere to monotheism, they
demanded that a Muslim must believe in the sovereignty of God and his laws. This
meant that belief in sharia law and rejection of man-made laws became a matter of core
belief. If a Muslim does not believe that he must be governed by God’s laws, and only
God’s laws, he cannot be considered a true Muslim. So, even if the word monotheism,
or tawhid, is a core Muslim concept, it means something different to jihadists like al-
Qaeda and ISIS. This is why Muslims, both Sunnis and Shia, refer to these jihadist
groups as takfiris (those who practice takfir, or excommunication, against fellow
Muslims).

The kind of ideas such groups believe in often lead Muslims to think of them as new
sects, regardless of the familiarity of the concepts they use to justify their practices.
These groups have specific understanding of words like bidaa (innovation in or deviation
from normative Islam); wala wal bara (loyalty to Islam and disavowal of un-Islamic
ways); tawhid (the oneness of God); shirk (polytheistic practices); kafir (apostate or
infidel); jahiliyya (pre-Islamic obliviousness); hakimiyya (sovereignty of God and his



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laws); taghut (false deity); hijra (migration); rabat (guarding borders); hadith (sayings and
traditions of Prophet Mohammed). They have their own set of criteria for what makes a
person a believer or not, such as nawaqid al-Islam, or nullifiers of Islam.

In terms of indoctrination, jihadists also rely on the military history of Islam and the wars
fought by Prophet Mohammed and his immediate successors, who tend to be held in
high regard by most Muslims. They rely on what is known as kutb al-sira, the books of
the prophet’s biography, which tend to focus on wars in early Islam. The Sealed Nectar
is one such book. That book is widely studied by Muslims, but as part of a broader list of
books and materials to provide a context for such stories. Jihadists tend to focus on
distributing and recommending such books because, taught in isolation, these books
can shape the thinking of new recruits that war and jihad is a central part of Islam. It is a
question of emphasis and selectiveness, a method jihadists use in prison settings to
indoctrinate followers. In formal education, Muslims learn other aspects of the religion,
such as reading the scripture, learning about morality, studying asbab al-nuzool, or the
context of each verse. Jihadists, however, focus on war, and learn check lists of what
make a Muslim a believer or otherwise.

Jihadists also like to focus on manuals and roadmaps, as shorthand to radicalize
Muslims. Milestones, by Egyptian Islamist intellectual Sayyid Qutb, who was executed
by the Egyptian government in 1966 after being accused of plotting to assassinate the
then-president Gamal Abdelnasser, is one example. In that book, Qutb draws a
roadmap for Islamic radicals to establish an Islamic state, based on a set of principles
and actions that include rejecting the foundations of modern states, the legitimacy of
existing governments and governance system, and the need for the return to the very
beginnings of Islam in the 7th century to re-establish supremacy over the world.

Stories from early Islamic history (often from the period known as the Apostasy Wars,
which followed Prophet Muhammad’s death) are also cited by jihadists to justify
beheading, crucifixion, mass killing, and similarly brutal practices to new members.

Despite their influence, Salafism and Islamism represent small circles in the broader
Islamic context. They represent relatively recent movements that base their concepts or
ideas on the broader religion of Islam. Jihadism or Salafi-jihadism are even narrower
circles that base their ideologies on the relatively narrow legacies of Salafism and
Islamism.

The merging of Islamism and Salafism produces a more clearly defined religion-based
political ideology, often called Salafi-jihadism, that typically endorses violence (or jihad)
as a tool for change. The overlap between Salafism and Islamism becomes starker
depending on the degree to which a person is influenced by the more rigid aspects of
the broader ideologies of Salafism and Political Islam. ISIS, al-Qaeda, and some less




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violent jihadist groups belong to a smaller ideological group of Salafi-jihadism. These
concepts are further depicted on the attached diagram to my report.

In other words, these ideologies are more specific manifestations or variations that
diverge from the Islam practiced by ordinary Muslims around the world.

Examples of Other Individuals and Groups Operating in Syria

Hundreds of armed groups and rebel leaders emerged in the Syrian context over the
years. Much in their legacies explain the intricacies of jihadism and its context.

Zahran Alloush is a cleric born in Douma in the east of Damascus in 1971. He was a
Salafi cleric influenced by his father, also a cleric based in Saudi Arabia. Released from
Sednaya prison in 2011, Alloush soon joined the fight against the regime and
established the Army of Islam in Douma, near Damascus, in 2011, at first named the
Brigade of Islam, which was rebranded later as the Army of Islam as it grew. The Army
of Islam received Saudi support and adhered to Salafism. For several years, Alloush
was the biggest threat to the regime on the outskirts of Damascus. He was killed by a
Russian air strike in December 2015.

Hassan Abboud was born in Hama in 1978. He was a Salafi Muslim from Sahl Al Ghab
Valley in western Hama. He was a graduate of English literature who ended up in
Sednaya prison in 2007 for his extremist Islamic views. After he was released from
prison in 2011, Abboud met Khaled Abu Anas from Saraqeb in Idlib and agreed to
establish an Islamic group that mixes al-Qaeda’s fighting experience with the pragmatic
ideology of the Muslim Brotherhood. He established Ahrar Al Sham Islamic Movement
(or Ahrar al-Sham for short) in 2011.Between 2011 and 2014, Ahrar Al Sham was the
most important jihadist group in the north of Syria. Abboud died in an explosion in
September 2014.

Abu Basir Al Tartusi, whose real name is Abdulmunem Halima, is a jihadist cleric and
ideologue born in Tartus in1959. Tartusi joined the Islamic insurgency against the
regime of Hafez al-Assad in the 1970s and 1980s and fled Syria in 1981 after the defeat
of the uprising. Tartusi travelled to Afghanistan and met the famous jihadist leader
Abdullah Azzam. In 1987, he travelled to Jordan where he wrote his book “Rules of
Takfir (Rules of Excommunication).” He then moved to Yemen and spent three years
there before moving to London. Tartusi visited Syria during the uprising and was seen
accompanying rebel forces in Aleppo and Latakia in 2012.

Hashem Al Sheikh, also known as Abu Jaber, is a jihadist leader and a cleric born in
Aleppo in 1968. Al Sheikh was the deputy of the famous Syrian cleric Mahmoud Qul
Aghasi (Abu Al Qaqaa). In 2003, while working for Abu Al Qaqaa, Al Sheikh assisted
Syrian and Arab fighters travel to Iraq through Syria with the encouragement of the



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Assad regime. He was arrested in 2005 and jailed in Sednaya prison. Al Sheikh was
released in 2011 and joined Ahrar al-Sham. He became the commander of Ahrar al-
Sham after the killing of Hassan Abboud in 2014. Sheikh was chosen as the first
nominal leader of Hayat Tahrir al-Sham.

Abu Khaled Al Suri was born in Aleppo in 1963. Al Suri participated in the Islamic
insurgency of the 1980s. He fled Syria after the failure of the insurgency to join jihadist
efforts in other Islamic countries. Al Suri fought in Afghanistan and accompanied Osama
Bin Laden. He then joined the jihad in Chechnya and was close to the famous Saudi
jihadist, Emir Khattab. Afterward, he returned to Iraq and joined Zarqawi in his war
against the UnitedStates. He was arrested by the Americans in Pakistan in 2005. Al Suri
spent one year in prison in Pakistan before being delivered to Syria where he spent five
years in Sednaya prison. In December 2011, Al Suri was released. He joined Ahrar al-
Sham and became the spiritual leader of the group and its military commander in
Aleppo. Ayman Al Zawahiri, head of al-Qaeda, chose Al Suri as a judge to examine the
disputes between ISIS and Jabhat al-Nusra in Syria. Al Suri was assassinated in Aleppo
in February 2014. Ahrar al-Sham accused ISIS of killing him.

Abu Musab Al Suri was born in Aleppo in 1958. His real name is Mustafa Sit Maryam. Al
Suri is a cleric and a scholar who wrote 14 books, most of which are about jihad and his
personal experiences in Afghanistan during the jihad there. His influence is key to
understanding some of the groups that operated in Syria after 2011, and in Iraq before
that. His books were popular in the Syrian jihadist circles. In 1991, he travelled to Britain.
In 2005, he was arrested by the Americans in Pakistan. He was deported to Syria and
imprisoned. Some jihadists think he was executed by the Assad regime, while others
believe he is still alive in prison in Syria.

END




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